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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

ESKER MARTIN III                                                                PLAINTIFF


v.                                  No: 4:21-cv-00159-JM


JACKSON, et al.                                                             DEFENDANTS

                                       JUDGMENT

       Pursuant to the order filed this date, judgment is entered dismissing this case without

prejudice.

       DATED this 6th day of May, 2021.


                                                   UNITED STATES DISTRICT JUDGE
